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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  11/6/20
 CHATTANOOGA GIRLS CHOIR, INC.,
              Plaintiff,                               20-CV-5592 (BCM)
        -against-                                      ORDER
 CONCEPT TOURS, INC., et al.
              Defendants.

BARBARA MOSES, United States Magistrate Judge.

       The Court having been informed that the parties have reached a settlement in principle, it

is hereby ORDERED that this action is DISMISSED without costs and without prejudice to the

parties' right, within thirty days of the date of this Order, (a) to submit their own Stipulation of

Settlement and Dismissal for the Court to so order, or (b) to reopen the case and restore it to the

active calendar if the settlement has not been completed. To be clear, any application to reopen

and restore must be filed within thirty days of the date of this Order. Late-filed applications

may be denied solely on that basis.

       This Order shall be deemed a final dismissal of the action with prejudice in the event

that no party requests restoration of the case to the active calendar within such 30-day period.

        Any pending motions are moot. All filing deadlines and conference dates are adjourned

sine die. The Clerk of Court is directed to close the case.

Dated: New York, New York
       November 6, 2020
                                              SO ORDERED.



                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge
